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 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:15-CR-190 GEB

12                                Plaintiff,            STIPULATION AND PROPOSED ORDER RE:
                                                        DEADLINE FOR EXPERT REPORTS
13                          v.

14   JOHN DICHIARA,

15                               Defendant.

16

17          The parties stipulate to a further extension of the deadline for Defendant John DiChiara to

18 disclose any expert report to the government. Defendant DiChiara has an appointment with a doctor on

19 June 26, 2017, and any report will be disclosed to the government by July 17, 2017. The government

20 withdraws its motion pending receipt of the defense’s expert reports, and requests that the hearing on

21 that motion, currently set for June 2, 2017, be taken off calendar.

22          //

23          //

24          //

25          //

26          //

27          //

28          //


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 1                                                Respectfully submitted,

 2 Dated: June 1, 2017                            PHILLIP A. TALBERT
                                                  United States Attorney
 3

 4                                         By: /s/ AUDREY B. HEMESATH
                                               AUDREY B. HEMESATH
 5                                             JILL M. THOMAS
                                               Assistant United States Attorney
 6

 7                                                /s/ ROBERT WILSON
                                                  ROBERT WILSON
 8                                                Attorney for John DiChiara
 9

10                                         ORDER

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12
                  It is so ordered.
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     Dated: June 1, 2017
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